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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 WEST PALM BEACH DIVISION

                                                               CASE NO.:
  HOWARD COHAN,

         Plaintiff,

  vs.                                                           INJUNCTIVE RELIEF SOUGHT


  BF DELRAY- LINTON, LLC
  a Florida Limited Liability Company
  d/b/a BURGERFI

        Defendant(s).
  ____________________________________/

                                            COMPLAINT

         Plaintiff, HOWARD COHAN (“Plaintiff”), by and through the undersigned counsel,

  hereby files this Complaint and sues BF DELRAY- LINTON, LLC, a Florida Limited Liability

  Company, d/b/a BURGERFI (“Defendant”), for declaratory and injunctive relief, attorneys’ fees,

  expenses and costs (including, but not limited to, court costs and expert fees) pursuant to 42 U.S.C.

  § 12182 et. seq., and the 2010 Americans with Disabilities Act (“ADA”) and alleges as follows:

                                   JURISDICTION AND VENUE

         1.      This Court is vested with original jurisdiction over this action pursuant to 28 U.S.C.

  §§ 1331, 343 for Plaintiff’s claims arising under Title 42 U.S.C. § 12182 et. seq., based on

  Defendant’s violations of Title III of the ADA. See also, 28 U.S.C. §§ 2201, 2202, as well as the

  2010 ADA Standards.

         2.      Venue is proper in this Court, West Palm Beach Division, pursuant to 28 U.S.C. §

  1391(B) and Internal Operating Procedures for the United States District Court For the Southern
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  District of Florida in that all events giving rise to the lawsuit occurred in Palm Beach County,

  Florida.

                                                  PARTIES

          3.      Plaintiff, HOWARD COHAN is sui juris and is a resident of the State of Florida

  residing in Palm Beach County, Florida.

          4.      Upon information and belief, Defendant is the lessee, operator, owner and lessor of

  the Real Property, which is subject to this suit, and is located at 620 Linton Blvd Suite 265, Delray

  Beach, Florida 33444, (“Premises”), and is the owner of the improvements where Premises is

  located.

          5.      Defendant is authorized to conduct, and is in fact conducting, business within the

  state of Florida.

          6.      Plaintiff is an individual with numerous permanent disabilities including severe

  spinal stenosis of the lumbar spine with spondylolisthesis; severe spinal stenosis of the cervical

  spine with nerve root compromise on the right side; a non-union fracture of the left acromion

  (shoulder); a labral tear of the left shoulder; a full thickness tear of the right rotator cuff; a right

  knee medial meniscal tear; a repaired ACL and bilateral meniscal tear of the left knee; and severe

  basal joint arthritis of the left thumb. The above listed permanent disabilities and symptoms cause

  sudden onsets of severe pain and substantially limit Plaintiff’s major life activities. As a result of

  these medical conditions, Plaintiff suffers body weakness, mobility limitations, abnormal gate, and

  abnormal balance. Additionally, his ability to lift, reach, bend, stretch and twist are substantially

  restricted.

          7.      At the time of Plaintiff’s visit to the Premises on May 10, 2023, (and prior to

  instituting this action), Plaintiff suffered from a “qualified disability” under the ADA, and required
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  the use of fully accessible restrooms. Plaintiff personally visited the Premises, but was denied full

  and equal access and full and equal enjoyment of the facilities and amenities within the Premises,

  even though he would be classified as a “bona fide patron”.

         8.      Plaintiff, in his individual capacity, will absolutely return to the Premises and avail

  himself of the services offered when Defendant modifies the Premises or modifies the policies and

  practices to accommodate individuals who have physical disabilities.

         9.      Plaintiff is continuously aware of the violations at Defendant's Premises and is

  aware that it would be a futile gesture to return to the Premises as long as those violations exist,

  and Plaintiff is not willing to suffer additional discrimination.

         10.     Plaintiff has suffered, and will continue to suffer, direct and indirect injury as a

  result of Defendant's discrimination until Defendant is compelled to comply with the requirements

  of the ADA. Plaintiff’s abnormal medical conditions and resulting disabilities as listed in the

  Counts below of this Complaint required the use of fully accessible restrooms, and otherwise

  affects Plaintiff’s ability to enjoy places of public accommodation such as the Premises as further

  detailed throughout this Complaint.

         11.     Plaintiff would like to be able to be a patron of the Premises in the future and be

  able to enjoy the goods and services that are available to the able-bodied public, but is currently

  precluded from doing so as a result of Defendant's discriminatory conduct as described herein.

  Plaintiff will continue to be precluded from using the Premises until corrective measures are taken

  at the Premises to eliminate the discrimination against persons with physical disabilities.

         12.     Plaintiff lives nearby in Boca Raton and frequently travels to and throughout the

  West Palm Beach/Palm Beach County area. During these trips he visits restaurants, bars, shops,
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  hotels, gas stations, entertainment venues, and any other places of public accommodation in the

  area.

          13.     Plaintiff intends return to the area where the Premises is located, as he has on

  countless occasions previously, and as he will on countless occasions in the future.

          14.     Completely independent of the personal desire to have access to this place of public

  accommodation free of illegal barriers to access, Plaintiff also acts as a “tester” for the purpose of

  discovering, encountering and engaging discrimination against the disabled in public

  accommodations. When acting as a “tester”, Plaintiff employs a routine practice which was

  employed in this matter. Plaintiff personally visits the public accommodation, as Plaintiff did here

  and engages all of the barriers to access, or at least of those that Plaintiff is able to access. Plaintiff

  tests all of those barriers to access to determine whether and the extent to which they are illegal

  barriers to access. Plaintiff then proceeds with legal action to enjoin such discrimination. Upon

  resolution of the action and an agreement by the defendant to fix the barriers to access, Plaintiff

  will subsequently return to the premises to verify its compliance or non-compliance with the ADA

  and to otherwise use the public accommodation as members of the able-bodied community are

  able to do. If the premises is not in compliance upon his return, Plaintiff has repeatedly brought

  breach of contract actions against the defendants for their failures to fix the barriers to access. In

  some instances, Plaintiff has even filed four and five separate actions against the same premises

  so as to ensure that they finally comply with the ADA.

          15.     Plaintiff fully intends and will return to this Premises in this tester capacity and will

  pursue his routine practice of ensuring compliance. Independent of his personal reasons for

  subsequent visits to this Premises as outlined above, Plaintiff intends to visit the Premises regularly
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  to verify its compliance or non-compliance with the ADA, and its maintenance of the accessible

  features of Premises.

          16.     In this instance, Plaintiff, in Plaintiff’s individual capacity and as a “tester”, visited

  Premises, encountered barriers to access at Premises, and engaged and tested those barriers,

  suffered legal harm and legal injury, and will continue to suffer such harm and injury as a result

  of the illegal barriers to access and the ADA violations set forth herein. It is Plaintiff’s belief that

  said violations will not be corrected without Court intervention, and thus Plaintiff will suffer legal

  harm and injury in the near future.

          17.     Plaintiff, in his capacity as a tester, will absolutely return to the Premises when

  either Defendant enters into an agreement to modify the Premises and/or an agreement to modify

  the policies and practices to accommodate individuals who have physical disabilities or otherwise

  advises Plaintiff that the barriers to access and discriminatory policies have been removed. The

  purpose of said visit will be to confirm said modifications and policy changes have been completed

  in accordance with the requirements of the ADA.

                VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT

          18.     Plaintiff adopts and re-alleges the allegations stated in paragraphs 1 through 17

  above as if fully stated herein.

          19.     On July 26, 1990, Congress enacted the Americans With Disabilities Act (“ADA”),

  42 U.S.C. § 12101 et. seq. Commercial enterprises were provided one and a half (1.5) years from

  enactment of the statute to implement its requirements. The effective date of Title III of the ADA

  was January 26, 1992, or January 26, 1993 if Defendant(s) have ten (10) or fewer employees and

  gross receipts of $500,000.00 or less. See 42 U.S.C. § 12182; 28 C.F.R. § 36.508(a).

          20.     Congress found, among other things, that:
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               a. some 43,000,000 Americans have one or more physical or mental disabilities, and

                  this number shall increase as the population continues to grow older;

               b. historically, society has tended to isolate and segregate individuals with disabilities

                  and, despite some improvements, such forms of discrimination against disabled

                  individuals continue to be a pervasive social problem, requiring serious attention;

               c. discrimination against disabled individuals persists in such critical areas as

                  employment, housing, public accommodations, transportation, communication,

                  recreation, institutionalization, health services, voting and access to public services

                  and public facilities;

               d. individuals with disabilities continually suffer forms of discrimination, including

                  outright intentional exclusion, the discriminatory effects of architectural,

                  transportation, and communication barriers, failure to make modifications to

                  existing facilities and practices. Exclusionary qualification standards and criteria,

                  segregation, and regulation to lesser services, programs, benefits, or other

                  opportunities; and,

               e. the continuing existence of unfair and unnecessary discrimination and prejudice

                  denies people with disabilities the opportunity to compete on an equal basis and to

                  pursue those opportunities for which our country is justifiably famous, and accosts

                  the United States billions of dollars in unnecessary expenses resulting from

                  dependency and non-productivity.

  42 U.S.C. § 12101(a)(1)-(3),(5) and (9).

         21.      Congress explicitly stated that the purpose of the ADA was to:
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                a. provide a clear and comprehensive national mandate for elimination of

                   discrimination against individuals with disabilities;

                b. provide clear, strong, consistent, enforceable standards addressing discrimination

                   against individuals with disabilities; and

                c. invoke the sweep of congressional authority, including the power to enforce the

                   fourteenth amendment and to regulate commerce, in order to address the major

                   areas of discrimination faced on a daily basis by people with disabilities.

  U.S.C. § 12101(b)(1)(2) and (4).

          22.      Pursuant to 42 U.S.C. § 12182(7), 28 C.F.R. § 36.104 and the 2010 ADA Standards,

  Defendant’s Premises is a place of public accommodation covered by the ADA by the fact it

  provides services to the general public and must be in compliance therewith.

          23.      Defendant has discriminated and continues to discriminate against Plaintiff and

  others who are similarly situated, by denying access to, and full and equal enjoyment of goods,

  services, facilities, privileges, advantages and/or accommodations located at the Premises, as

  prohibited by 42 U.S.C. § 12182 and 42 U.S.C. § 12101 et. seq., and by failing to remove

  architectural barriers pursuant to 42 U.S.C. § 12182(b)(2)(A)(iv).

          24.      Plaintiff has visited Premises, and has been denied full and safe equal access to the

  facilities and therefore suffered an injury in fact.

          25.      Plaintiff would like to return and enjoy the goods and/or services at Premises on a

  spontaneous, full and equal basis. However, Plaintiff is precluded from doing so by the

  Defendant’s failure and refusal to provide disabled persons with full and equal access to their

  facilities. Therefore, Plaintiff continues to suffer from discrimination and injury due to the

  architectural barriers that are in violation of the ADA.
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          26.      Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the Department

  of Justice, Officer of the Attorney General promulgated Federal Regulations to implement the

  requirements of the ADA. See 28 C.F.R. § 36 and its successor the 2010 ADA Standards ADA

  Accessibility guidelines (hereinafter referred to as “ADAAG”), 28 C.F.R. § 36, under which said

  Department may obtain civil penalties of up to $55,000.00 for the first violation and $110,000.00

  for and subsequent violation.

          27.      Based on a preliminary inspection of the Premises, Defendant is in violation of 42

  U.S.C. § 12182 et. seq. and the 2010 American Disabilities Act Standards et. seq., and is

  discriminating against Plaintiff as a result of, inter alia, the following specific violations:

          Unisex Restroom #1

                a. Providing a gate or door with a continuous opening pressure of greater than 5 lbs.

                   exceeding the limits for a person with a disability in violation of 2010 ADAAG §§

                   404, 404.1, 404.2, 404.2.9 and 309.4.

                b. Providing a swinging door or gate with improper maneuvering clearance(s) due to

                   a wall or some other obstruction in violation of 2010 ADAAG §§ 404, 404.1, 404.2,

                   404.2.4 and 404.2.4.1. (baby changing table)

                c. Failure to provide a coat hook within the proper reach ranges for a person with a

                   disability in violation of 2010 ADAAG §§ 603, 603.4 and 308.

                d. Providing an element or object that protrudes greater than 4” into a pathway or

                   space of travel situated between 27” and 80” high in violation of 2010 ADAAG §§

                   204, 307, 307.1, 307.2.
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           e. Failure to provide the proper insulation or protection for plumbing or other sharp

              or abrasive objects under a sink or countertop in violation of 2010 ADAAG §§ 606

              and 606.5.

           f. Providing grab bars of improper horizontal length or spacing as required along the

              rear wall in violation of 2010 ADAAG §§ 604, 604.5, 604.5.1 and 604.5.2.

           g. Providing grab bars of improper horizontal length or spacing as required along the

              side wall in violation of 2010 ADAAG §§ 604, 604.5, 604.5.1 and 604.5.2.

        Unisex Restroom #2

           h. Providing a gate or door with a continuous opening pressure of greater than 5 lbs.

              exceeding the limits for a person with a disability in violation of 2010 ADAAG §§

              404, 404.1, 404.2, 404.2.9 and 309.4.

           i. Failure to provide a coat hook within the proper reach ranges for a person with a

              disability in violation of 2010 ADAAG §§ 603, 603.4 and 308.

           j. Providing a swinging door or gate with improper maneuvering clearance(s) due to

              a wall or some other obstruction in violation of 2010 ADAAG §§ 404, 404.1, 404.2,

              404.2.4 and 404.2.4.1. (baby changing table)

           k. Failure to provide the correct opening width for a forward approach into a lavatory

              (sink) in violation of 2010 ADAAG §§ 305, 305.7.1, 404, 605.3 and 606.2

           l. Failure to provide the proper insulation or protection for plumbing or other sharp

              or abrasive objects under a sink or countertop in violation of 2010 ADAAG §§ 606

              and 606.5.
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                 m. Providing an element or object that protrudes greater than 4” into a pathway or

                    space of travel situated between 27” and 80” high in violation of 2010 ADAAG §§

                    204, 307, 307.1, 307.2.

                 n. Providing grab bars of improper horizontal length or spacing as required along the

                    rear wall in violation of 2010 ADAAG §§ 604, 604.5, 604.5.1 and 604.5.2.

                 o. Providing grab bars of improper horizontal length or spacing as required along the

                    side wall in violation of 2010 ADAAG §§ 604, 604.5, 604.5.1 and 604.5.2.

                 p. Failure to provide the proper spacing between a grab bar and an object projecting

                    out of the wall in violation of 2010 ADAAG §§ 609, 609.1 and 609.3. (plumbing)

                 q. Failure to provide the proper insulation or protection for plumbing or other sharp

                    or abrasive objects under a sink or countertop in violation of 2010 ADAAG §§ 606

                    and 606.5.

           28.      To the best of Plaintiff’s belief and knowledge, Defendant has failed to eliminate

   the specific violations set forth in paragraph 27 herein.

           29.      Although Defendant is charged with having knowledge of the violations, Defendant

   may not have actual knowledge of said violations until this Complaint makes Defendant aware of

   same.

           30.      To date, the readily achievable barriers and other violations of the ADA still exist

   and have not been remedied or altered in such a way as to effectuate compliance with the

   provisions of the ADA.

           31.      As the owner, lessor, lessee or operator of the Premises, Defendant is required to

   comply with the ADA. To the extent the Premises, or portions thereof, existed and were occupied

   prior to January 26, 1992, the owner, lessor, lessee or operator has been under a continuing
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   obligation to remove architectural barriers at the Premises where removal was readily achievable,

   as required by 28 C.F.R. §36.402.

          32.      To the extent the Premises, or portions thereof, were constructed for occupancy

   after January 26, 1993 the owner, lessor, lessee or operator of the Premises was under an obligation

   to design and construct such Premises such that it is readily accessible to and usable by individuals

   with disabilities, as required by 28 C.F.R. §36.401.

          33.      Plaintiff has retained the undersigned counsel for the filing and prosecution of this

   action. Plaintiff is entitled to have his reasonable attorneys’ fees, costs and expenses paid by

   Defendant, pursuant to 42 U.S.C. § 12205.

          34.      All of the above violations are readily achievable to modify in order to bring

   Premises or the Facility/Property into compliance with the ADA.

          35.      In instance(s) where the 2010 ADAAG standard does not apply, the 1991 ADAAG

   standard applies and all of the violations listed in paragraph 27 herein can be applied to the 1991

   ADAAG standards.

          36.      Pursuant to 42 U.S.C. § 12188, this Court is vested with the authority to grant

   Plaintiff’s injunctive relief, including an order to alter the subject facility to make them readily

   accessible to and useable by individuals with disabilities to the extent required by the ADA and

   closing the Subject Facility until the requisite modifications are completed.

          WHEREFORE, Plaintiff demands judgment against Defendant and requests the following

   injunctive and declaratory relief:

                1. That this Court declares that Premises owned, operated and/or controlled by
                   Defendant is in violation of the ADA;
                2. That this Court enter an Order requiring Defendant to alter their facilities to make
                   them accessible to and usable by individuals with disabilities to the full extent
                   required by Title III of the ADA;
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           3. That this Court enter an Order directing the Defendant to evaluate and neutralize
              their policies, practices and procedures toward persons with disabilities, for such
              reasonable time so as to allow the Defendant to undertake and complete corrective
              procedures to Premises;
           4. That this Court award reasonable attorney’s fees, all costs (including, but not
              limited to the court costs and expert fees) and other expenses of suit to the Plaintiff;
              and,
           5. That this Court award such other and further relief as it may deem necessary, just
              and proper.

        Dated June 2, 2023.

                                      Sconzo Law Office, P.A.
                                      3825 PGA Boulevard, Suite 207
                                      Palm Beach Gardens, FL 33410
                                      Telephone: (561) 729-0940
                                      Facsimile: (561) 491-9459

                                      By: /s/ Gregory S. Sconzo
                                      GREGORY S. SCONZO, ESQUIRE
                                      Florida Bar No.: 0105553
                                      SAMANTHA L. SIMPSON, ESQ.
                                      Florida Bar No.: 1010423
                                      Primary Email: greg@sconzolawoffice.com
                                      Primary Email: samantha@sconzolawoffice.com
                                      Secondary Email: alexa@sconzolawoffice.com
